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                                                                         6                                UNITED STATES DISTRICT COURT
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                                                                                                         NORTHERN DISTRICT OF CALIFORNIA
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                                                                         10   UNITED STATES OF AMERICA,
                                                                         11                 Plaintiff,                                       No. CR 05-00167 WHA
United States District Court




                                                                                v.
                               For the Northern District of California




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                                                                         13   EDGAR DIAZ, RICKEY ROLLINS,                                    ORDER DENYING
                                                                              DON JOHNSON, ROBERT CALLOWAY,                                  DEFENDANT BYES’
                                                                         14   DORNELL ELLIS, EMILE FORT,                                     MOTION TO
                                                                              CHRISTOPHER BYES, PARIS                                        SUPPRESS EVIDENCE
                                                                         15   RAGLAND, RONNIE CALLOWAY,                                      (Doc. No. 608)
                                                                              ALLEN CALLOWAY, and REDACTED
                                                                         16   DEFENDANTS NOS. ONE & TWO,
                                                                         17                 Defendants.
                                                                                                                          /
                                                                         18
                                                                         19                                         INTRODUCTION
                                                                         20          In this multi-count RICO gang prosecution with multiple defendants, defendant
                                                                         21   Christopher Byes moves to suppress evidence obtained during defendant Byes’ arrest on
                                                                         22   January 12, 2000. An evidentiary hearing was held on October 4, 2006, during which defendant
                                                                         23   Byes and one of the arresting officers testified. For the reasons below, defendant Byes’ motion
                                                                         24   is DENIED.
                                                                         25                                           STATEMENT
                                                                         26          On January 12, 2000, defendant Byes was walking on Blythdale Street in San Francisco,
                                                                         27   California. This part of San Francisco was known to be controlled by the “Up the Hill Gang”
                                                                         28   (“UTHG”), and defendant Byes was then an active member of the rival Down Below Gang
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                                                                         1    (“DBG”). At the hearing, defendant Byes admitted that he has a tattoo reading “DBG” on his
                                                                         2    forearm, although he denied that it stood for Down Below Gang. Defendant Byes described the
                                                                         3    jacket he was wearing that morning as a large black pull-over jacket that ended about six inches
                                                                         4    below his waist. The zipper on the jacket ran only from the mid-point of defendant Byes’ torso
                                                                         5    to his neck, he said. In contrast to this in-court testimony, defendant Byes stated in his signed
                                                                         6    declaration that he was wearing “a thick black jacket,” that the jacket ended about a foot below
                                                                         7    his waist, and simply stated that his jacket was “zipped up” although the description contained
                                                                         8    nothing about the zipper only running half-way up the jacket.
                                                                         9           On the day in question, Officer Gala and Officer Razzak drove by defendant Byes. In an
                                                                         10   unmarked police car, Officer Razzak saw defendant Byes in his black jacket. When defendant
                                                                         11   Byes turned, Officer Razzak could see a gun strap around defendant Byes’ neck and a clip
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                                                                         12   showing through the bottom part of the baggy jacket. From this, Officer Razzak could tell that
                                                                         13   defendant had a firearm hanging from his neck. Defendant Byes then began to run. The
                                                                         14   officers chased him on foot and radioed other officers in the area for backup. Just before being
                                                                         15   apprehended, defendant Byes placed his Uzi machine gun on the ground and continued to run.
                                                                         16   The officers saw this. Moments later, a police car cut off defendant Byes’ path. The officers
                                                                         17   detained and arrested defendant Byes. Officer Razzak picked up the Uzi machine gun that
                                                                         18   defendant Byes had left on the street. The officers then transported defendant Byes to Ingleside
                                                                         19   station. There, after being read his Miranda rights, defendant Byes admitted that the Uzi
                                                                         20   machine gun was his (Razzak Decl. ¶ 3, 5, 6, 8–11; Byes Decl. ¶ 1–4, 9).
                                                                         21                                              ANALYSIS
                                                                         22          1.      DEFENDANT BYES IS NOT ENTITLED TO
                                                                                             SUPPRESSION OF THE UZI MACHINE GUN.
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                                                                                     Defendant Byes is not entitled to suppression of the gun seized on January 12, 2000.
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                                                                              It was abandoned by defendant Byes when he was fleeing from the police. As explained below,
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                                                                              defendant Byes had not been physically seized by the police nor did he submit to a show of
                                                                         26
                                                                              authority. Accordingly, the Uzi was not the product of an unlawful search.
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                                                                                     California v. Hodari D., 499 U.S. 621 (1991), is controlling. There, defendant Hodari
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                                                                              D., apparently panicked by the sight of two plain-clothes police officers in jackets emblazoned

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                                                                         1    with “Police” on the front and back in their unmarked car, ran from the officers. Upon seeing
                                                                         2    an officer pursuing him, Hodari tossed a small rock to the ground. The officer tackled Hodari
                                                                         3    and arrested him. The small rock Hodari had tossed was a rock of cocaine.
                                                                         4           In Hodari, the Supreme Court considered “whether, at the time he dropped the drugs,
                                                                         5    Hodari had been ‘seized’ within the meaning of the Fourth Amendment.” It had been conceded
                                                                         6    by the State of California that the police officers did not have the “reasonable suspicion”
                                                                         7    required by Terry v. Ohio, 392 U.S. 1 (1968), to stop Hodari. Hodari’s argument was that “a
                                                                         8    seizure occurs ‘when the officer, by means of physical force or show of authority, has in some
                                                                         9    way restrained the liberty of a citizen.’” The Supreme Court held that a seizure does not occur
                                                                         10   when the subject does not yield to a show of authority. Rather, a seizure occurs when the
                                                                         11   subject is either physically restrained by the officer or submits to the show of authority.
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                                                                         12   The cocaine Hodari abandoned while he was running was not the fruit of a seizure, and the
                                                                         13   motion to exclude the evidence was properly denied. Hodari D., 499 U.S. at 623, 625,
                                                                         14   626, 629.
                                                                         15          At our hearing, counsel suggested that the mere fact that five police officers and two
                                                                         16   police cars pursued Byes converted the pursuit into an illegal arrest, and thus, that the seizure
                                                                         17   of the gun was unlawful. Presumably this was an attempt to fit his argument within the
                                                                         18   “show of authority” seizure exception created in Terry v. Ohio and discussed in Hodari.
                                                                         19   The Supreme Court’s holding in Hodari, however, completely cuts against the suggestion.
                                                                         20   Hodari held that there cannot be a seizure unless defendant Byes submitted to a show of
                                                                         21   authority. Even if the five police officers and two police cars constituted a show of authority,
                                                                         22   defendant Byes here did not submit to that authority because he ran and continued to run.
                                                                         23   Even when an officer yelled, “freeze,” he continued to run and did not submit to the officer’s
                                                                         24   command. The Uzi was abandoned while defendant Byes was on the run. Under Hodari, there
                                                                         25   cannot be a Fourth Amendment seizure of a person when there is no physical force restraining
                                                                         26   the person’s movement nor submission to a show of authority by the police officers. Hodari D.,
                                                                         27   499 U.S. at 626. Accordingly, the gun defendant Byes tossed while running from the police
                                                                         28   officers was abandoned by him and lawfully recovered by the police.


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                                                                         1           2.      THE OFFICERS HAD PROBABLE CAUSE TO ARREST
                                                                                             DEFENDANT BYES AFTER HE DROPPED THE UZI MACHINE GUN.
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                                                                                     Dropping the gun created probable cause to justify the officers’ arrest of defendant
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                                                                              Byes. An arrest is constitutionally valid if the arresting officers had probable cause to make the
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                                                                              arrest. Beck v. Ohio, 379 U.S. 89, 91 (1964). Officers have probable cause to make an arrest
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                                                                              when “at that moment the facts and circumstances within their knowledge and of which they
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                                                                              had reasonably trustworthy information were sufficient to warrant a prudent man in believing
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                                                                              that the [defendant] had committed or was committing an offense.” Here, the officers retrieved
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                                                                              the Uzi machine gun they had just seen defendant Byes drop. This order finds that the
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                                                                              discovery of the gun coupled with the previous observations of the officers constituted
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                                                                              sufficient probable cause to justify a warrantless arrest of defendant Byes.
                                                                         11
United States District Court




                                                                                     Finally, defendant Byes was known to the officers present to be a member of DBG and
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                                                                              on probation (Razzak Decl. ¶ 3–4). Defendant Byes was seen walking in enemy gang territory
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                                                                              belonging to the UTHG. This alone created reasonable suspicion for a parole stop, even
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                                                                              without taking into account Officer Razzak’s sighting of the Uzi gun on defendant Byes.
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                                                                                     The Court accepts the testimony of Officer Razzak as credible. Defendant Byes’
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                                                                              testimony was not credible for several reasons. At the hearing, defendant testified that his
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                                                                              tattoo — which reads “DBG” — was not a symbol of the Down Below Gang, rather that
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                                                                              “DBG” could mean “a variety of things.” Defendant Byes, however, could not come up with
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                                                                              any other meaning. In light of the context of this case, that “DBG” could mean anything other
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                                                                              than “Down Below Gang” is too far-fetched to be believed. Furthermore, defendant Byes also
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                                                                              stated categorically (and several times) that he had never seen Officer Razzak before in his life,
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                                                                              even after his attorney tried to redirect his testimony by asking if it was possible that he did not
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                                                                              remember seeing Officer Razzak before. Defendant Byes’ response affirming that he had never
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                                                                              seen Officer Razzak before is implausible because Officer Razzak was involved in the
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                                                                              detainment and arrest of defendant Byes that day. It is unbelievable that this officer who was
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                                                                              on the scene, and has filed a declaration under penalty of perjury with this Court could not have
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                                                                              been part of defendant Byes’ arrest. Amazingly, this fact is corroborated by defendant Byes’
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                                                                         1    own earlier-filed declaration which stated, “the police officers eventually caught me and placed
                                                                         2    me under arrest” (Byes Decl. ¶ 9).
                                                                         3                                           CONCLUSION
                                                                         4           For the reasons stated above, defendant Byes’ motion to suppress fruits of the
                                                                         5    January 2000 arrest and search is DENIED.
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                                                                         7           IT IS SO ORDERED.
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                                                                              Dated: October 10, 2006.
                                                                         9                                                          WILLIAM ALSUP
                                                                                                                                    UNITED STATES DISTRICT JUDGE
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United States District Court
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